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                                                         Southern District of Texas
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                                                            October 16, 2023
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